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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



FRONTPOINT ASIAN EVENT DRIVEN                                 Case No. 16-cv-5263
FUND, L.P., ET AL. V. CITIBANK, N.A.,
ET AL.


                          DECLARATION OF JONATHAN D. SCHILLER

                 JONATHAN D. SCHILLER declares as follows:

            1.     I am a managing partner of Boies Schiller Flexner LLP (“Boies Schiller Flexner”)

  located in New York, New York.

            2.     Defendants Barclays Bank PLC, Barclays PLC, and Barclays Capital Inc.

  (collectively, “Barclays”) are represented by the law firms of Boies Schiller Flexner and Sullivan

  & Cromwell LLP (“Sullivan & Cromwell”) in the above-referenced action (the “Action”).

            3.     The following former or current attorneys from Boies Schiller Flexner have

  appeared in the Action as counsel for Barclays: Jonathan David Schiller, Michael Brille, and

  Melissa Brooke Felder Zappala.

            4.     Upon the Court’s granting of the accompanying motion for withdrawal of

  appearance, Boies Schiller Flexner, including each of the above-listed attorneys, will cease

  representing Barclays in the Action.

            5.     Sullivan & Cromwell will continue to represent Barclays in the Action, and the

  withdrawal of the above-listed Boies Schiller Flexner attorneys will not prejudice Barclays.

            6.     No hearings or conferences are currently scheduled in the Action.

            7.     Neither Boies Schiller Flexner nor any of its attorneys is asserting a retaining or

  charging lien.
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        I declare under penalty of perjury that the foregoing is true and correct.


Dated: August 20, 2020


                                                  /s/ Jonathan D. Schiller
                                                  Jonathan D. Schiller
                                                  BOIES SCHILLER FLEXNER LLP
                                                  55 Hudson Yards
                                                  New York, New York 10001
                                                  (212) 446-2300
                                                  JSchiller@BSFLLP.com
